Case 2:08-cv-03866-CBM-AGR Document 3 Filed 06/18/08 Page 1 of 1 Page ID #:12



   1   Alan S. Gutman, SBN 128514
       Matthew E. Hess, SBN 214732
   2   LAW OFFICES OF ALAN S. GUTMAN
       9401 Wilshire Boulevard, Suite 575
   3   Beverly Hills, CA 90212-2918
   4
       Telephone: 310-385-0700
       Facsimile: 310-385-0710
   5        email: alangutman@gutmanlaw.com
            email: mhess@gutmanlaw.com
   6
       Attorneys for Plaintiff MORGAN CREEK PRODUCTIONS, INC.
   7
   8                          UNITED STATES DISTRICT COURT
   9                        CENTRAL DISTRICT OF CALIFORNIA
  10
  11   MORGAN CREEK               ) Case No. CV08–03866 CBM (AGRx)
       PRODUCTIONS, INC.,         )
  12                              ) NOTICE OF DISMISSAL
            Plaintiff,            )
  13                              ) [Fed.R.Civ.P. 41(a)(1)]
       vs.                        )
  14                              )
                                  )
  15   NINTENDO OF AMERICA, INC., )
       DOES 1 - 10, Inclusive,    )
  16                              )
            Defendant.            )
  17   ___________________________)
  18   TO THE COURT, ALL PARTIES AND COUNSEL:
  19          PLEASE TAKE NOTICE that the Plaintiff Morgan Creek Productions,
  20   Inc. hereby dismisses the above-entitled action pursuant to Fed.R.Civ.P.
  21   41(a)(1).
  22   Dated: June 18, 2008               LAW OFFICES OF ALAN S. GUTMAN
  23                                             /s/ Alan S. Gutman
  24                                    By: ___________________________
                                           Alan S. Gutman
  25                                       Attorneys for Plaintiff
                                           MORGAN CREEK PRODUCTIONS, INC.
  26
  27
  28

       MORGANCREEK\NINTENDO\DISMISSAL                              NOTICE OF DISMISSAL
